
*314OPINION.
Murdock:
The Commissioner disallowed this loss on the theory that the transaction was a short sale and was not closed until delivery of the certificates in 1932. He was in error. This was not a short sale as short sales are made on the New York Stock Exchange. It was a cash sale with immediate delivery by an agent of the seller. The sale took place on December 31, 1931. The parties so intended. The petitioner sustained'his loss in that year. A sale may take place before delivery of the certificates. In fact such is usually the case on the Exchange. Delivery on regular sales is not made until a day or so after the sale has taken place. The certificates which the petitioner had after the sale were certificates which he owed to the brokers to repay their loan of certificates to him. The Commissioner concedes that this case is like the case of Dee Furey Mott, 35 B. T. A. 195, and cases there cited.

Decision will be entered under Rule 50.

